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 Attorneys for Plaintiff WAG Acquisition L.L.C.
                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 WAG ACQUISITION, L.L.C.                                                CASE NUMBER

                                                         Plaintiff(s)
                                                                                         2:21-cv-08242 RSWL (KKx)
                             v.
 HULU LLC,
                                                                         (PROPOSED) ORDER ON APPLICATION OF
                                                      Defendant(s).      NON-RESIDENT ATTORNEY TO APPEAR IN
                                                                             A SPECIFIC CASE PRO HAC VICE
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
 Patchen, Alex G.                                                                 of   Liston Abramson LLP
 Applicant’s Name (Last Name, First Name & Middle Initial                              The Chrysler Building
 (212) 257-1632                          (917) 633-5568                                405 Lexington Avenue, 46th Floor
 Telephone Number                        Fax Number                                    New York, NY 10174
 Alex.patchen@listonabramson.com
                             E-Mail Address                                            Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of
 WAG Acquisition, L.L.C.


 Name(s) of Party(ies) Represent                                  Plaintiff(s) ☒ Defendant(s) ☐ Other:
and designating as Local Counsel
 White, William A.                                                                of   Hill, Farrer & Burrill LLP
 Designee’s Name (Last Name, First Name & Middle Initial                               One California Plaza, 37th Floor
                                                                 (213) 624-            300 South Grand Avenue
 121681                           (213) 621-0816                 4840                  Los Angeles, CA 90071
 Designee’s Cal. Bar No.          Telephone Number               Fax Number
 wwhite@hillfarrer.com
                             E-Mail Address                                            Firm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
 ☒GRANTED
 ☐DENIED:             ☐   for failure to pay the required fee.
                      ☐   for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                      ☐   for failure to complete Application:
                      ☐   pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                          is regularly employed or engaged in business, professional, or other similar activities in California.
                      ☐   pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not maintain office
                          District.
                      ☐ because

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IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.

Dated: Click here to enter a date.
                                                                          U.S. District Judge/U.S. Magistrate Judge




 G-64 Order (05/16)   (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE   Page 1 of 1
